                      UNITED STATES BANKRUPTCY COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS (Eastern Division)

IN RE: Audrey Schiff                             )
                                                 )       Chapter 13
Debtor,                                          )
                                                 )       Case No. 22-06368
                                                 )
                                                 )       Honorable Judge Timothy A. Barnes

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

        Now comes, Wilmington Savings Fund Society, FSB, as Owner Trustee of the Residential

Credit Opportunities Trust VI-A (“Creditor”), by and through its attorneys, Klein, Daday, Aretos

& O’Donoghue, LLC, and requests that this Honorable Court, pursuant to Section 362 of the

Bankruptcy Code, 11 U.S.C. § 362 (West 2018, and other such Sections and Rules may apply, to

enter an order modifying automatic stay therein. In support thereof, Creditor states as follows:

        1.         On April 6, 2022, the debtor Audrey Schiff (“Debtor”) filed a petition for relief

under chapter 13 of the United States Bankruptcy Code in the Northern District of Illinois under

docket number 22-03995 that was dismissed on May 11, 2022, for the debtor’s failure to file

documents, including a plan.

        2.         On June 6, 2022, the above captioned Chapter 13 was filed without a plan.

        3.         Pursuant to Docket Entry #1, Debtor was to file her plan by June 21, 2022, but has

failed to do so.

        4.         Creditor is the holder of a first mortgage lien on the property located at 4601 Touhy

Ave, Unit 601, Lincolnwood, IL 60172 (the “Property”). See the attached mortgage and note.

        5.         There is currently pending in the Circuit Court of Cook County, Illinois an action

to foreclose Creditor’s mortgage interest in the Property under docket number 2019 CH 12992 (the

“Foreclosure Action”).
       6.      Pursuant to a judgment of foreclosure and order of sale that was entered in the

Foreclosure Action, Creditor scheduled a foreclosure sale of the Property on April 8, 2022.

       7.      The foreclosure sale that was scheduled for April 8, 2022, was continued to June 7,

2022, after Debtor filed her initial bankruptcy petition.

       8.      Creditor was forced to cancel the foreclosure sale that was scheduled for June 7,

2022, after receiving notice of Debtor’s filing of the instant bankruptcy petition so as to not violate

the automatic stay that was imposed for thirty days from the date of filing the instant bankruptcy

petition as provided by 11 U.S.C. § 362(c)(3)(A).

       9.      Both of Debtor’s petitions listed Creditor as the sole creditor of Debtor.

       10.     Both of Debtor’s cases were filed without the assistance of counsel.

       11.     A case is presumptively filed not in good faith if a previous case was filed under

chapter 13 and dismissed within the preceding 1-year period for the debtor’s failure to file

documents. 11 U.S.C. § 362(c)(3)(C)(II)(aa).

       12.     Although a debtor has the ability to overcome the presumption that a case was not

filed in good faith by clear and convincing evidence, Debtor’s repeated, deficient, and pro se filings

on the eve of Creditor’s scheduled foreclosure sales clearly demonstrates that Debtor’s sole

motivation for filing her cases was to frustrate and delay Creditor’s ability to proceed and complete

the foreclosure process on Debtor’s seriously delinquent mortgage loan.

        13.    As such, Creditor requests that this Honorable Court enter an order lifting the

automatic stay with respect to the Property and confirming that Debtor will not be entitled to an

automatic stay if she files another bankruptcy case on or before June 6, 2023.

       WHEREFORE, movant Wilmington Savings Fund Society, FSB, as Owner Trustee of the

Residential Credit Opportunities Trust VI-A, respectfully prays that the Automatic Stay with
respect to the debtor Audrey Schiff and the property commonly known as 4601 Touhy Ave, Unit

601, Lincolnwood, IL 60172, be modified, and that Bankruptcy Rule 4001(a)(3) be waived as not

applicable, and leave be granted for Wilmington Savings Fund Society, FSB, as Owner Trustee of

the Residential Credit Opportunities Trust VI-A to pursue all available non-bankruptcy remedies

with respect to the Debtor and Property and for such other and further relief that this Honorable

Court deems just.

                                            Respectfully Submitted,
                                            Wilmington Savings Fund Society, FSB, as Owner
                                            Trustee of the Residential Credit Opportunities Trust
                                            VI-A

                                            /s/ Nathan Buikema
                                            By One of Its Attorneys

Nathan Buikema (Ill. #6302969)
Klein, Daday, Aretos & O'Donoghue, LLC
1051 Perimeter Dr., Suite 300
Schaumburg, IL 60173
(847) 590-8700
nbuikema@kdaolaw.com
